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                                                                           United States Courts
                                                                         Southern District of Texas
                               UNITED STATES DISTRICT COURT
                                                                                  FILED
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                           August 07, 2023
                                                                      Nathan Ochsner, Clerk of Court
 UNITED STATES OF AMERICA                            §
                                                     §   CASE NO. 4:23-cr-218
 vs.                                                 §
                                                     §
 (1) HARDIK JAYANTILAL PATEL,
                                                     §
     aka Erik aka Mitesh aka Nick aka Dev, and
                                                     §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                   §
                                                     §
                 Defendants.                         §

                                    MOTION TO UNSEAL

         The United States respectfully moves this Honorable Court to unseal the Indictment and

all other documents on file under this case. The documents were originally sealed pending the

arrest of all defendants, who were considered by the Government to be a risk of flight. The

Government has been informed that all defendants are now in custody, and the case no longer

requires sealing.

                                            Respectfully Submitted,

                                            ALAMDAR S. HAMDANI
                                            United States Attorney
                                            Southern District of Texas

                                     By:    /s/ Stephanie Bauman
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